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                     EXHIBIT “K”
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                                                                                                                         SIGNATURE


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29 October 2019

By email

FAO: Rebecca Fine                                                                                                           Your ref
Athena Art Finance Corp                                                                                                     Our ref                          SJB/TR/2549.1
12th Floor
400 Park Avenue
New York
New York 10022




Dear Sirs/Madams

Satfinance Investment Limited -v- (1) Inigo Philbrick (2) Inigo Philbrick Limited (3) 18 Boxwood
Green Limited (4) Athena Art Finance Corp

We have been instructed to act for Satfinance Investment Limited ("SIL").

Please find enclosed a bundle of documents comprising the following:

1.    Claim Form and Particulars of Claim (in draft);

2.    Application Notice and Order (in draft);

3.    Witness Statement of Aleksandar Pesko and Exhibit AP1 (in draft); and

4.    Witness Statement of Simon John Bushell and Exhibit SJB1 (in draft).

The above documents explain in detail SI L's ownership rights in Humidity by Jean Michael Basquiat, and
seek appropriate relief as a matter of urgency. All of the enclosed documents will be signed in the morning
and issued shortly thereafter. We anticipate seeking a hearing to determine our SI L's Application towards
the end of this week and we will notify you as soon as possible of the hearing date and time.

In the meantime, if you have any questions or queries please contact Simon Bushell of this firm.

Yours faithfully




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